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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE

In re: ASHINC Corp., et al.,                  :
                                              :
                        Debtor.               :
__________________________________            :
YUCAIPA AMERICAN ALLIANCE                     :
FUND I, L.P., and YUCAIPA AMERICAN            :
ALLIANCE (PARALLEL) FUND I. L.P.,             :
                                              :
                           Appellants,        :
                                              :
      v.                                      :   C. A. No. 21-994-CFC
                                              :
CATHERINE E. YOUNGMAN, as                     :   Bankr. Case No. 13-50530
Litigation Trustee for ASHINC Corp. et al.,   :   BAP No. 21-50
as successor to the Official Committee        :
of Unsecured Creditors of ASHINC              :
Corporation, and its affiliated debtors       :
                                              :
                      Appellee.               :
__________________________________            :
                                              :
In re: ASHINC Corp., et al.,                  :
                                              :
                        Debtor.               :
__________________________________            :
YUCAIPA AMERICAN ALLIANCE                     :
FUND I, L.P., and YUCAIPA AMERICAN            :
ALLIANCE (PARALLEL) FUND I. L.P.,             :
                                              :
                           Appellants,        :
                                              :
      v.                                      :   C. A. No. 21-995-CFC
                                              :
CATHERINE E. YOUNGMAN, as                     :   Bankr. Case No. 12-11564 (CSS)
Litigation Trustee for ASHINC Corp. et al.,   :   Bankr. Case AP No. 14-50971 (CSS)
as successor to BDCM OPPORTUNITY              :   BAP No. 21-51
FUND II, LP, BLACK DIAMOND CLO                :
2005-1, LTD., SPECTRUM INVESTMENT             :
PATRTNERS, L.P., BLACK DIAMOND                :
COMMERCIAL FINANCE, L.L.C., as co-            :
administrative agent, and SPECTRUM            :
COMMERCIAL FINANCE LLC, as co-                :
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administrative agent,              :
                                   :
                      Appellees.   :
__________________________________ :

                                    RECOMMENDATION

              At Wilmington this 2nd day of August, 2021.

              WHEREAS, pursuant to paragraph 2(a) of the Procedures to Govern

Mediation of Appeals from the United States Bankruptcy Court for this District dated

September 11, 2012, the court conducted an initial review, which included information

from counsel, to determine the appropriateness of mediation in this matter;

       The parties participated in several mediation over the years which addressed the

claims asserted in the underlying Bankruptcy Court adversary proceedings involved in

the present Appeals to this Court. Initially, the parties mediated with the Honorable

Robert D. Drain with the final mediation session occurring on November 2, 2018.

These efforts were unsuccessful in reaching a settlement.

       Thereafter, the parties attempted another mediation with the Honorable Daniel

Weinstein (retired) and Jed. D. Melnick (of JAMS) in October 2019. This mediation

session did not result in a resolution.

       In late 2020, Judge Weinstein and Mr. Melnick participated in discussions which

resulted in a settlement of all claims against the previously named individual

defendants, who were subsequently dismiss in December 2020.

       Appellants are interested in further mediation to try to resolve the Appeals in this

Court and strongly prefer mediation be conducted with Judge Weinstein and Mr.

Melnick because of their familiarity with this matter. They seek a referral for mediation


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before Judge Weinstein and Mr. Melnick and to defer setting a briefing schedule until

after this mediation is conducted.

       The Litigation Trustee is also willing to participate in further mediation to resolve

the Appeals, provided that mediation have no impact on the timing of the stay of

judgment currently extended through and including August 3, 2021. The Trustee

agrees that additional mediation should be undertaken by Judge Drain or, alternatively,

Judge Weinstein and Mr. Melnick due to their familiarity with this matter.

       Therefore, the parties clearly are interested in further mediation to try settle the

disputes involved in this Appeal. The primary issue is the timing of mediation, with the

Litigation Trustee requiring that mediation occur before the end of Current Stay, that is

by the end of August 3, 2021.

       Since this Judge was advised of the parties’ positions on Friday, July 29, 2021,

the Litigation Trustee’s requirement that any further mediation occur by the end of

August 3, 2021 is unrealistic. Although an Oral Order was entered by this Judge on

July 8, 2021 giving the parties until July 29, 2021 to advise in a joint written submission

their respective positions and reasoning on mediation, when this Oral Order was

entered, this Judge was unaware of the history of settlement efforts between these

parties, as well as their continued interest in mediation. In fact, one purpose of their

letter was to provide this Court information regarding the parties’ prior mediation efforts.

       Further, pursuant to this Court’s Standing Order dated September 11, 2012

regarding procedures to govern mediation of all appeals from the Bankruptcy Court,

automatically places all Bankruptcy Court appeals in Mandatory Mediation, which

means that the present Appeals remain in Mandatory Mediation.

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      THEREFORE, IT IS RECOMMENDED that:

      1. These appeals remain in Mandatory Mediation;

      2. Because of their familiarity with the issues involved, these appeals be referred

to Judge Weinstein and Mr. Melnick for further mediation;

      3. The Stay in these appeals be extended until the further mediation efforts

recommended herein are completed;

      4. No briefing schedule be entered until after further mediation with Judge

Weinstein and Mr. Melnick is completed. If mediation is unsuccessful, the Parties shall

submit a proposed stipulated briefing order for this Court’s approval.

      The parties are advised of their right to file objections to this Recommendation

pursuant to 28 U.S.C. § 636(b)(1)(B), F ED. R. CIV. P. 72(a) and D. DEL. LR 72.1. Local

counsel are obligated to inform out-of-state counsel of this Recommendation.

                                         /s/ Mary Pat Thynge
                                         Chief U.S. Magistrate Judge Mary Pat Thynge




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